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                                 SETTLEMENT AGREEMENT

       This Settlement Agreement (“Settlement Agreement”) is entered into by and between

Housing Opportunities Made Equal of Virginia, Inc. (“HOME”) and Wisely Properties, LLC and

Multifamily Management Services, Inc. (jointly “Wisely”). HOME and Wisely are hereinafter at

times referred to collectively as the “Parties.”

                                            RECITALS

       WHEREAS, HOME conducted an investigation of Wisely’s rental practices at Sterling

Glen Apartments (“Sterling Glen”) in Chesterfield, Virginia, and as a result of that investigation,

raised concerns with Wisely. HOME subsequently filed a complaint against Wisely in U.S.

District Court for the Eastern District of Virginia, Richmond Division, challenging Wisely’s

alleged use of a criminal background screening criterion and alleging that the practice failed to

comply with the federal Fair Housing Act and the Virginia Fair Housing Law (the “Matter”).

       WHEREAS, HOME’s complaint alleges that Wisely maintains and enforces a blanket

ban on felonies; in other words that Wisely uses a policy of automatically excluding any person

with a record of a felony conviction from renting or living in an apartment at Sterling Glen.

HOME alleges that Wisely’s policy discriminates based on race. The complaint also alleges that

the legitimate business concerns justifying the criminal history screening of Wisely’s housing

applicants can be more narrowly tailored to eliminate any potentially discriminatory disparate

impact on the basis of race.

       WHEREAS, Wisely denies that its policy of criminal history background screening of

housing applicants results in any discriminatory effects in violation of the Fair Housing Act and

the Virginia Fair Housing Law.




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       WHEREAS, both Parties nonetheless share a common goal of ensuring that Wisely’s

rental opportunities are made available in a nondiscriminatory manner.

       WHEREAS, by entering into this Agreement the Parties intend to fully resolve all of the

claims asserted against Wisely by HOME in its Complaint.

       NOW, THEREFORE, in consideration of the promises and covenants contained herein,

and other valuable consideration, the receipt and sufficiency of which are hereby acknowledged,

the Parties hereby agree as follows:

                       TERMS OF THE SETTLEMENT AGREEMENT

       Based upon the foregoing recitals, which are incorporated herein by this reference, it is

hereby agreed by the Parties to this Settlement Agreement that:

I.   NONDISCRIMINATION

1.   Wisely and their officers, employees, agents, representatives, assignees, and successors in

     interest, and all those in active concert or participation with any of them, shall not

     discriminate or retaliate against any person based on race, color, religion, national origin,

     disability, familial status, sex, or because a person has exercised rights protected by the Fair

     Housing Act, 42 U.S.C § 3601 et seq. or the Virginia Fair Housing Law, VA. CODE ANN. §§

     36–96 et seq.

II. ADOPTION OF POLICIES AND PRACTICES

2.   Within thirty (30) days from the Effective Date, Wisely shall adopt and implement at

     Sterling Glen the Criminal Background Policy and corresponding attachments (the

     Conditional Offer Letter, the Request for Additional Information on Criminal Background,

     and the Criminal Background Adverse Action Letter) that are included as Exhibit A.

3.   Wisely shall take the following steps to notify the public of their Nondiscrimination Policy:

       a. Continue to prominently post at the rental office of Sterling Glen a fair housing sign


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        no smaller than ten (10) inches by fourteen (14) inches that indicates that all

        apartments are available for rent on a nondiscriminatory basis.

     b. Include the words "Equal Housing Opportunity" and/or the fair housing logo in all

        rental advertising conducted by Wisely, or their agents or employees, in newspapers,

        flyers, handouts, telephone directories, websites hosted by Wisely, and other written

        materials; on radio, television, online, or other media broadcasts; and on all

        billboards, signs, pamphlets, brochures and other promotional literature, provided that

        this requirement does not compel Wisely to advertise in any of these media, but does

        require compliance with this provision whenever Wisely so advertises. The words

        and/or logo shall be located on the first page or cover of any written advertising

        materials, and shall be easily readable.

     c. Include at least the following phrase in the standard rental application and the

        standard rental agreement used for Sterling Glen in boldface type, using letters of

        equal or greater size to those of the text in the body of the document:

     We are an equal housing opportunity provider. We do not discriminate on the basis of
     race, color, sex, national origin, religion, disability or familial status.

     d. Include on their rental application the following language:

     Have you ever been convicted of a felony? A felony conviction will not automatically
     disqualify you from living here. Felony convictions within the last five years will be
     evaluated on an individual basis considering the nature and severity of the conviction,
     the length of time since conviction, and any other mitigating circumstances you may wish
     to provide. All decisions regarding criminal history background are at the sole
     discretion of management in compliance with our established policies, and are made
     in accordance with all applicable fair housing laws. If you have questions about this,
     please ask us. Failure to disclose a felony conviction may be grounds for denial of an
     application.




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IV. TRAINING

4.   Within thirty (30) days from the Effective Date, Wisely shall provide a copy of the

     attachments in Exhibit A to their agents and employees involved in showing, renting, or

     managing any dwelling unit at Sterling Glen Apartments.

5.   Wisely confirms that all its employees at Sterling Glen Apartments have received

     independent, third party training on fair housing within the 60 day period proceeding the

     Effective Date. Within thirty (30) days from the Effective Date, Wisely’s managers, agents,

     and employees involved in showing, renting, or managing any dwelling unit at Sterling Glen

     Apartments shall undergo in-person training on the new criminal background policy

     provided for under this Agreement. The training shall be conducted by a qualified party,

     approved in advance by HOME and its counsel, and any expenses associated with this

     training shall be borne by Wisely. Wisely shall provide to HOME and its counsel a list of

     all persons attending this training within thirty (30) days after it is conducted.

6.   All of Wisely’s new hires at Sterling Glen after the date of the in-person training shall

     receive training on fair housing law requirements, and to the extent the new hire is involved

     in the showing, renting, or managing of any dwelling unit, the criminal background policy,

     as part of Wisely’s regular on-boarding and training process.

V. RECORDKEEPING

7.   Wisely shall maintain records for a period of two (2) years, including but not limited to

     documents relating to the application of its criminal background policy adopted here.

     Wisely shall make the information described below available for inspection by HOME upon

     written request electronically and/or at a mutually convenient time and place. Any request

     for inspection must be made by the Executive Director of HOME or her designee within




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     HOME, and must be made directly to:

                Mr. Clay Wisely
                240 N. Central Avenue, Suite A
                Staunton, VA 24401
                wiselycpa@cfw.com

     No request for inspection shall be delivered to any employee of Sterling Glen Apartments.

     The information subject to inspection shall consist of:

            a. A copy of each Conditional Offer Letter, Request for Additional Information and

                Criminal Background Adverse Action Letter issued by Wisely, and any related

                correspondence or information provided by the applicant.

            b. A record of the outcome as to each individual to whom a Conditional Offer Letter

                was issued. This record may be in the form of a log, recording the name of the

                applicant and the date of the issuance of the Conditional Offer Letter, as well as

                the dates of any follow up communication with the applicant and the ultimate

                determination on the application.

VI. COMPENSATION

8.   Within thirty (30) days from the Effective Date, Wisely shall donate to HOME the amount

     of $15,000.00. The payment shall be made by check to:

        Housing Opportunities Made Equal of Virginia, Inc.
        Attention: Heather Mullins Crislip
        President and CEO
        626 East Broad Street, Suite 400
        Richmond, VA 23219

9.   Within thirty (30) days from the Effective Date, Wisely shall pay to HOME an agreed upon

     amount for damages and fees in full and final settlement of all of HOME’s claims against

     Wisely including, but not limited to, damages, attorneys’ fees and costs. The payment shall

     be made by check or wire transfer payable to Relman, Dane & Colfax PLLC at:



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       Relman Dane & Colfax PLLC
       Attention: Sara Pratt
       1225 19th Street NW
       Suite 600
       Washington, D.C. 20036

10. HOME will file a Joint Stipulation and Order of Dismissal with Prejudice for all claims

    asserted in the Litigation within ten (10) days after the payment described in Paragraphs 8

    and 9 clears HOME’s and HOME’s Counsel’s account. Wisely’s signature on this

    Agreement constitutes permission for HOME to file the Stipulation and Order of Dismissal

    as a joint filing on behalf of the Parties, following review and approval by Wisely’s counsel.

VII. MUTUAL RELEASES

11. HOME and Wisely mutually release, acquit, and forever discharge each other with prejudice

    and subject to this Settlement Agreement from any and all claims, demands, causes of

    action, or liabilities, at law or in equity, arising out of the allegations in the Complaint filed

    in U.S. District Court, Eastern District of Virginia, Richmond Division. This release

    includes any and all claims or counterclaims, demands, actions or causes of action, rights,

    liabilities, damages, losses, obligations, judgments, suits, matters, and issues of any kind or

    nature whatsoever, whether known or unknown, contingent or absolute, suspected or

    unsuspected, disclosed or undisclosed, that have been or could have been asserted in the

    Matter or in any court, tribunal, or proceeding, including, but not limited to, claims of

    housing discrimination in violation of the Fair Housing Act, 42 U.S.C. § 3601 et seq. or the

    Virginia Fair Housing Law, VA. CODE ANN. §§ 36–96 et seq., and any and all related

    charges or complaints, including all statutory, tort, contract or other claims which were or

    might have been asserted by HOME or Wisely in any court or administrative process.




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VIII. DISPUTE RESOLUTION

12. The Parties shall attempt to resolve informally any dispute or concern that may arise through

    application of the Criminal Background Policy, the corresponding letters, or any other issue

    that that may arise under this Agreement. If during the term of this Agreement Wisely

    determines it is necessary to modify any portion of the criminal background policy, or the

    forms associated with it, Wisely will provide a copy of any proposed modification to

    HOME at least fourteen (14) days prior to the effective date of the proposed modification,

    and HOME shall have fourteen (14) days to consider the proposed modification in good

    faith. If HOME does not object in writing to the proposed modification within the fourteen

    (14) day period, HOME will be deemed to have approved the modification. If HOME

    objects in writing to the proposed modification, the Parties shall engage in good faith efforts

    to resolve the modification issue informally before seeking other action.

13. In the event any other dispute or concern arises regarding any other issue that may arise

    under this Agreement during the term of this Agreement, the Parties shall engage in good

    faith efforts to resolve the issue informally. If the Parties are unable to resolve the issue

    within thirty (30) days, either Party may seek judicial relief in any appropriate court,

    provided that written notice is first provided to the other Party.

IX. MISCELLANEOUS TERMS

14. The term of this Agreement shall be two (2) years. The Parties may mutually agree to

    reasonable written extensions of time to carry out any of the provisions of this Agreement.

15. This Agreement constitutes the entire agreement of the Parties and may only be amended or

    modified in writing and executed by all Parties.

16. If any provision of this Agreement is declared invalid or unenforceable by a court having




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    competent jurisdiction, it is mutually agreed that this Agreement shall endure except for the

    part declared invalid or unenforceable by order of such court, unless the elimination of the

    invalid provision shall materially affect the intent of this Agreement. The Parties shall

    consult and use their best efforts to agree upon a valid and enforceable provision that shall

    be a reasonable substitute for such invalid or unenforceable provision in light of the intent of

    this Agreement.

17. This Agreement may be executed in two or more counterparts, each of which, when so

    executed and delivered, shall be an original, but such counterparts shall together constitute

    one and the same instrument and agreement. For purposes of executing this Agreement, a

    document signed and transmitted by facsimile or email shall be treated as an original

    document. The signature of any Party thereon shall be considered as an original signature,

    and the document transmitted shall be considered to have the same binding legal effect as an

    original signature on an original document. The Effective Date of this Agreement shall be

    the last date on which it is signed by a Party.

18. This Agreement shall be governed and construed in accordance with the laws of the

    Commonwealth of Virginia.




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This Settlement Agreement is hereby entered into and executed by:




                                                  Approved as to Form:



                                                  Glenn Schlactus
                                                  Tara K. Ramchandani
                                                  Sara Pratt
                                                  Orly May
                                                  RELMAN, DANE & COLFAX, PLLC
                                                  1225 19th St., NW, Suite 600
                                                  Washington, D.C. 20036-2456
                                                  Tel: 202-728-1888
                                                  Fax: 202-728-0848
                                                  gschlactus@relmanlaw.com
                                                  tramchandani@relmanlaw.com
                                                  spratt@relmanlaw.com
                                                  omay@relmanlaw.com

                                                  ACLU FOUNDATION OF VIRGINIA, INC.
                                                  Eden B. Heilman (VSB No. 93554)
                                                  Jennifer Safstrom (VSB No. 93746)
                                                  701 E. Franklin Street, Suite 1412
                                                  Richmond, VA 23219
                                                  (804) 644-8022 (Phone)
                                                  (804) 649-2733 (Fax)
                                                  eheilman@acluva.org
                                                  jsafstrom@acluva.org

                                                  Alejandro Agustin Ortiz
                                                  Joshua David Riegel
                                                  AMERICAN CIVIL LIBERTIES UNION
                                                  FOUNDATION
                                                  125 Broad Street-18th Floor
                                                  New York, New York 10004
                                                  Tel: (212) 549-2500
                                                  Fax: (212) 549-2654
                                                  ortiza@aclu.org
                                                  jriegel@aclu.org



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This Settlement Agreement is hereby entered into and executed by:




WiselY, roperties, LLC and
Multi am.ily Management
Services, Inc.




                                           Theresa L. Kitay
                                           Attorney at Law
                                           P.O. Box 597
                                           Oak Island, NC 28465




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                                EXHIBIT A
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                     STERLING GLEN CRIMINAL HISTORY POLICY
Overview
The property is committed to upholding fair housing principles and ensuring equal access to its
property regardless of applicants’ backgrounds. In determining whether to approve an applicant
to live in the community, the property will conduct the following three-step process:
    1) Income and Credit Screening;
    2) Limited Criminal Background Screening; and
    3) Individual Assessment.
Each step is described in detail below.
Step One: Income and Credit Screening
First, the property will review an applicant’s income and conduct a credit screening. If an
applicant meets the property’s income and credit criteria, the property will provide an applicant
with a conditional offer of tenancy. The form of this letter (the “Conditional Offer Letter”) is
attached as Appendix A.
Step Two: Limited Criminal Background Screening
Second, if the applicant has met the property’s income and credit criteria and received a
conditional offer, the property will conduct a limited criminal background screening for all
individuals age 18 and older who will reside in the apartment.
The limited criminal background screening will only consider:
       Felony criminal convictions related to the following categories of offenses: (1) property
        offenses,1 (2) major drug offenses,2 (3) fraud offenses,3 (4) major violent offenses against
        persons,4 and (5) sex offenses5. Any other category of offense will not be considered.
        These categories were identified because they involve conduct by a person whose
        tenancy may present a current direct threat of harm to others or the risk of substantial
        damage to the property of others.



1
  Property offenses include theft, burglary, vandalism, arson and other criminal damage to
property.
2
  Major drug offenses include drug trafficking and the sale, smuggling, manufacture, or
distribution of any controlled substance. This includes unspecified controlled substances. It also
includes all 1st or 2nd degree controlled substance offenses. Major drug offenses do not include
simple possession of a controlled substance or drug paraphernalia, nor any past conduct that has
since been decriminalized.
3
  Fraud offenses include identify theft, use of stolen checks, writing bad checks, counterfeiting,
and forgery.
4
  Major violent offenses include assault, battery, and homicide.
5
  Sex offenses include rape, registration as a sexual offender, taking indecent liberties with a
minor, pandering, sex trafficking, and sexual battery. Not included are victimless crimes such as
prostitution or solicitation.
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      Felony criminal convictions in the above listed categories where the conviction occurred
       within the last five years.
The property’s limited criminal background screening will not consider arrests, charges,
expunged convictions, convictions reversed on appeal, vacated convictions, offenses where
adjudication was withheld or deferred, pardoned convictions, and sealed juvenile records. It will
not treat people differently based on whether the applicant is on probation or parole.
Step Three: Individual Assessment
Third, if an applicant is identified as having a felony criminal conviction in one of the specified
categories of offenses within the five years prior to the application (“covered criminal conduct”),
the property will provide an individual assessment of the applicant’s current situation before
deciding whether to withdraw the conditional offer. The purpose of the assessment is to
determine whether the applicant is able to fulfill the obligations of tenancy at the property.
The property will first send a written notice to each applicant identified as having covered
criminal conduct that includes specific information from the background check that creates a
concern. The notice will inform the applicant that covered criminal conduct was identified in the
limited criminal background screening and will invite the applicant to provide additional
information within fourteen (14) days for the property to consider. The requested information
could include, for example, letters from parole officers, case workers, counselors, family
members, or community organizations commenting on the applicant’s responsible conduct and
rehabilitation efforts. The form of this request letter (the “Additional Information Request
Letter”) is attached as Appendix B.
Based on information received from the applicant, as well as the information provided by the
property’s criminal background screening provider, the property will then conduct an individual
assessment of each applicant identified as having covered criminal conduct. The property will
consider all applicants equally and render decisions in a fair and consistent manner. The property
will consider the following factors in determining whether to approve or reject the application:
      the facts or circumstances surrounding the criminal conduct;
      the age of the applicant at the time of the occurrence of the criminal offense;
      evidence of a good tenant or employment history before or after the conviction or
       conduct;
      evidence of rehabilitation efforts;
      the time that has elapsed since the occurrence of the conduct;
      any information about the applicant that indicates good conduct since the offense
       occurred;
      whether the conduct/conviction arose from the applicant's status as a survivor of domestic
       violence, sexual assault, stalking, or dating violence;
      whether the conduct/conviction arose from an applicant's disability, including mental
       illness; and
      any other information related to whether the applicant’s specific criminal history creates
       the potential that the property’s current residents, employees, or property will be exposed
       to a heightened risk of crime.



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If an applicant does not provide information for the property’s consideration within fourteen (14)
days of the date of Additional Information Request Letter, the property will assess the applicant
based upon available information obtained during the application process, including the
information received from the property’s credit and criminal background screening provider.
If, after the individual assessment described above, the property decides to reject an applicant,
then on the day of such determination, the property will send to the applicant a Criminal
Background Adverse Action Letter in the form attached hereto as Appendix C.
Disclosure
The property will disclose its three-step screening process to all applicants prior to the
submission of an application.




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                                            Appendix A
                               CONDITIONAL OFFER LETTER
[Date]
Dear [Applicant Name],
Thank you for your recent application to Sterling Glen Apartments. Based on a review of your
income and credit criteria, you are hereby advised that we are making you a conditional offer to
rent at Sterling Glen. However, this offer is contingent upon a limited criminal background
screening.
The limited criminal background screening will only include consideration of:
        Felony criminal convictions related to the following categories of offenses: (1) property
         offenses,1 (2) major drug offenses,2 (3) fraud offenses,3 (4) major violent offenses against
         persons,4 and (5) sex offenses.5 Any other category of offense will not be considered.
         These categories were identified because they involve conduct by a person whose
         tenancy may present a current direct threat of harm to others or the risk of substantial
         damage to the property of others.
        Felony criminal convictions in the above listed categories where the conviction occurred
         within the last five years.
The property’s limited criminal background screening will not consider arrests, charges,
expunged convictions, convictions reversed on appeal, offenses where adjudication was withheld
or deferred, pardoned convictions, vacated convictions, and sealed juvenile records. It will not
treat people differently based on whether the applicant is on probation or parole.
If you are identified as having a criminal felony conviction in one of the specified categories of
offenses within the five years prior to the application, Sterling Glen will conduct an individual
assessment of your current situation before deciding whether to withdraw this conditional offer.
As part of the individual assessment, Sterling Glen will send you a written notice, which includes
the specific information from the background check that creates a concern. The notice will invite
you to provide additional information within fourteen (14) days for the property to consider. The

1
  Property offenses include theft, burglary, vandalism, arson, and other criminal damage to
property.
2
  Major drug offenses include drug trafficking and the sale, smuggling, manufacture, or
distribution of any controlled substance. This includes unspecified controlled substances. It also
includes all 1st or 2nd degree controlled substance offenses. Major drug offenses do not include
simple possession of a controlled substance or drug paraphernalia, nor any past conduct that has
since been decriminalized.
3
  Fraud offenses include identify theft, use of stolen checks, writing bad checks, counterfeiting,
and forgery.
4
  Major violent offenses include assault, battery, and homicide.
5
  Sex offenses include rape, registration as a sexual offender, taking indecent liberties with a
minor, pandering, sex trafficking, and sexual battery. Not included are victimless crimes such as
prostitution or solicitation.
                                                  1
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requested information could include, for example, letters from parole officers, case workers,
counselors, family members, employers, teachers, or community organizations commenting on
the applicant’s responsible conduct and rehabilitation efforts.

Based on the information you provide as well as the information obtained through Sterling
Glen’s credit and criminal background screening provider, RealPage, Sterling Glen will conduct
an individual assessment to determine whether you are able to fulfill the obligations of tenancy at
the property. If, based on the individual assessment, Sterling Glen determines that you are not
able to fulfill the obligations of tenancy, Sterling Glen will send you a notice withdrawing this
conditional offer.

Sincerely,

[NAME]
[CONTACT INFORMATION]




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                                           Appendix B
   REQUEST FOR ADDITIONAL INFORMATION ON CRIMINAL BACKGROUND
[Date]
Dear [Applicant Name],
Thank you for your recent application to Sterling Glen Apartments.
A limited criminal background check has indicated that you have been convicted of the
following felony(ies) within the last five years:
        [CONVICTION(S)]
If you believe this information to be incorrect, you may contact RealPage, which can be reached
at [ADDRESS] or by phone at [PHONE NUMBER]. We encourage you to contact RealPage to
request a free copy of the criminal background report. If any discrepancies exist, you may open a
dispute with RealPage in an attempt to rectify. You may also submit documentation to [EMAIL
ADDRESS/MAILING ADDRESS] that establishes that an expunged conviction, a conviction
overturned on appeal, or sealed juvenile records erroneously appeared. Such information will not
be considered in the criminal background screening process.
If you do not believe that the criminal background check was in error and you have been
convicted of the above listed felony(ies) within the last five years, in order to further evaluate
your application, we are requesting that you provide us with any additional information that you
would like us to consider. Please contact us at the number below and/or return this form by email
to [EMAIL ADDRESS] or addressed to [MAILING ADDRESS] with any additional
information.
If you would like us to consider additional information, please provide us with any of the
following information (as applicable) within fourteen (14) days of the date of this letter:
        the date(s) of the conviction(s);
        your age when the conduct occurred;
        the specific crime(s) of which you have been convicted;
        the facts and circumstances of the criminal conduct;
        any rehabilitation efforts that you have undertaken;
        any evidence of proof of employment;
        any evidence of good rental history;
        letters of recommendation from case workers, counselors, therapists, probation/parole
         officers, community organizations, family members, employers, or teachers commenting
         on your responsible conduct and rehabilitation efforts (each letter is important);
        certificate of completion of a treatment program relevant to the conduct underlying the
         conviction;
        certificate of completion of an employment or vocational training program; and
        any additional relevant information that you would like Sterling Glen to consider.

Providing this information does not guarantee that your application will be approved.


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If you have been convicted of the above listed felony(ies), Sterling Glen will consider whether to
withdraw your conditional offer based on an individualized consideration of the following
factors: (a) the facts or circumstances surrounding the criminal conduct; (b) your age at the time
of the crime; (c) evidence of a good tenant and employment history; (d) evidence of
rehabilitation efforts; (e) the time that has elapsed since the occurrence of the conduct; (f) any
information about you that indicates good conduct since the offense occurred; and (g) any other
factors related to whether your specific criminal history poses a threat to the safety and security
of Sterling Glen’s residents and associates or to the property. No single factor will be outcome
determinative.

Sterling Glen will conclude its individualized consideration of your particular facts and
circumstances within thirty (30) days after the date of this letter.

If you do not provide the information requested in this letter within the fourteen (14) day
period referenced above, we will conduct our assessment based solely on the information
obtained in the application process, including the information received from Sterling
Glen’s credit and criminal background screening provider.


Sincerely,

[NAME]
[CONTACT INFORMATION]




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                                            APPENDIX C

                 CRIMINAL BACKGROUND ADVERSE ACTION LETTER

[Date]

Dear [Applicant Name],

Thank you for your recent application to Sterling Glen Apartments.

We have reviewed your application and conducted an individualized assessment based on the
following information:

    [ ] Information contained in consumer report(s) obtained from or through RealPage, which
         may include credit or consumer information from one or more credit bureaus or
         consumer reporting agencies;

    [ ] Information contained in the limited background check6 conducted by RealPage;

    [ ] All of the information that you provided to us in response to our Request for Additional
        Information on Criminal Background, dated [Date of Reply to Request for Additional
        Information]. This information included [LIST INFORMATION PROVIDED BY
        APPLICANT].

    [ ] Other: ______________________________________________________________

[IF APPLICANT DID NOT PROVIDE INFORMATION IN RESPONSE TO LETTER: You did
not provide any additional information to us in response to our Request for Additional
Information on Criminal Background, dated [Date of Request]. Accordingly, we reviewed only
available information obtained during the application process, including the information received
from Sterling Glen’s credit and criminal background screening provider.]

Based on this individualized assessment, at this time, we are withdrawing our conditional offer to
rent a unit at Sterling Glen Apartments because [description of the outcome of individualized
review].

Sincerely,

[NAME]

6
 The limited criminal background screening only considered the following category of felony offenses in
which the conviction occurred within five years prior to the application: (1) property offenses, (2) major
drug offenses, (3) fraud offenses, (4) major violent offenses against persons, and (5) sex offenses. Any
other category of offense was not considered. These categories were identified because they involve
conduct by a person whose tenancy may present a current direct threat of harm to others or the risk of
substantial damage to the property of others.

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[CONTACT INFORMATION]


                                     NOTICE OF RIGHTS
You have certain rights under federal and state law with respect to your consumer report.
If any person takes adverse action based in whole or in part on any information contained in a
consumer report or credit report, you have the right to a disclosure of the information in your
consumer file from the agency that provided such information, if you make a written request to
them and provide proper identification within sixty (60) days of receiving this denial. The federal
fair credit reporting act also provides that you are entitled to obtain from any nationwide credit
reporting agency or credit bureau a free copy of your report in any twelve-month period. You
have the right to directly dispute with the consumer reporting agency and/or credit bureau the
accuracy and completeness of any information furnished by that agency or bureau and to provide
a consumer statement describing your position if you dispute the information in your consumer
file. If you believe the information in your consumer file is inaccurate or incomplete, you may
call RealPage consumer relations department at [phone number]. RealPage will initiate the re-
investigation of any disputed information.




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